Case 8:24-cv-01452-FWS-JDE   Document 26   Filed 08/23/24   Page 1 of 2 Page ID
                                   #:89


 1                                         NOTE: CHANGES MADE BY COURT
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 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10    BRET CONWAY and JENNIFER              Case No. 8:24-cv-01452-FWS-JDE
      ROGERS, Individually and on Behalf
11    of All Others Similarly Situated,     CLASS ACTION
12                      Plaintiffs,         ORDER RE JOINT STIPULATION
                                            REGARDING FIRST AMENDED
13          v.                              COMPLAINT AND BRIEFING
                                            SCHEDULE ON RULE 12
14    KAWASAKI MOTORS CORP.,                MOTION [25]
      U.S.A. AND KAWASAKI HEAVY
15    INDUSTRIES (USA), INC. DBA
      KAWASAKI HEAVY INDUSTRIES
16    MOTORCYCLE & ENGINE,
17                      Defendants.
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                                                            Case No. 8:24-cv-01452-FWS-JDE
Case 8:24-cv-01452-FWS-JDE      Document 26     Filed 08/23/24    Page 2 of 2 Page ID
                                      #:90


 1                                          ORDER
 2         Having reviewed and considered the Joint Stipulation Regarding First
 3   Amended Complaint and Briefing Schedule on Rule 12 Motion [25]
 4   (“Stipulation”), the files and records of the case, the applicable law, and for the
 5   good cause appearing in the Stipulation, the court ORDERS the following:
 6
 7         1.     Plaintiffs’ First Amended Complaint (“FAC”) shall be filed within
 8                thirty (30) days of the date of this Order;
 9         2.     Defendants’ Rule 12 Motion regarding the FAC (“Motion”) shall be
10                filed within thirty (30) days of the filing of the FAC;
11         3.     Plaintiffs’ Opposition to the Motion (“Opposition”) shall be filed
12                within thirty (30) days of the filing of the Motion;
13         4.     Defendants’ Reply in support of the Motion shall be filed within
14                twenty-one (21) days of the filing of the Opposition; and
15         5.     Any other deadlines previously set by the court remain the same.
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17         IT IS SO ORDERED.
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     Dated: August 23, 2024
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                                             Hon. Fred W. Slaughter
20                                           UNITED STATES DISTRICT JUDGE
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